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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )
In re:                                                       )        Chapter 11
                                                             )
JOANN INC., et al.,1                                         )        Case No. 25-10068 (CTG)
                                                             )
                           Debtors.                          )        (Jointly Administered)
                                                             )
                                                             )        Re: Docket No. 16

                         NOTICE OF MOTION OF
             DEBTORS FOR ENTRY OF AN ORDER (I) AUTHORIZING
       AND APPROVING PROCEDURES TO REJECT OR ASSUME EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES, AND (II) GRANTING RELATED RELIEF

       PLEASE TAKE NOTICE that on January 15, 2025, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”), by and through their undersigned proposed
counsel, filed with the United States Bankruptcy Court for the District of Delaware (the “Court”)
the Motion of Debtors for Entry of an Order (I) Authorizing and Approving Procedures to Reject
or Assume Executory Contracts and Unexpired Leases, and (II) Granting Related Relief
[Docket No. 16] (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that a copy of the Motion is available on (i) the
Court’s website: www.deb.uscourts.gov and (ii) the website maintained by the Debtors’ Claims
and        Noticing       Agent,      Kroll     Restructuring      Administration      LLC,
https://cases.ra.kroll.com/Joann2025.

        PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on
February 11, 2025 at 2:00 p.m. (prevailing Eastern Time) before The Honorable Craig T.
Goldblatt, United States Bankruptcy Court for the District of Delaware, 3rd Floor, Courtroom
No. 7, 824 North Market Street, Wilmington, Delaware 19801.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion and the entry
of a final order approving the Motion must be filed on or before February 4, 2025 at 4:00 p.m.
(prevailing Eastern Time) (the “Objection Deadline”) with the United States Bankruptcy Court
for the District of Delaware, 3rd Floor, 824 North Market Street, Wilmington, DE 19801 and
served upon the following parties so as to be actually received by the Objection Deadline: (a) the


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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
     Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
     LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
     JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
     is 5555 Darrow Road, Hudson, Ohio 44236.
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Debtors, JOANN Inc., 5555 Darrow Road, Hudson, Ohio 44236, Attn.: Ann Aber, EVP, Chief
Legal and Human Resources Officer; (b) proposed co-counsel to the Debtors (i) Kirkland & Ellis
LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Aparna Yenamandra, P.C.
(aparna.yenamandra@kirkland.com) and 333 West Wolf Point Plaza, Chicago Illinois 60654,
Attn.: Jeffrey Michalik (jeff.michalik@kirkland.com) and Lindsey Blumenthal
(lindsey.blumenthal@kirkland.com) and (ii) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410,
Wilmington, Delaware 19801, Attn.: Patrick J. Reilley (preilley@coleschotz.com), Stacy L.
Newman (snewman@coleschotz.com), Michael E. Fitzpatrick (mfitzpatrick@coleschotz.com),
and Jack M. Dougherty (jdougherty@coleschotz.com); (c) the United States Trustee, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Malcolm M. Bates
(malcolm.m.bates@usdoj.gov); (d) counsel to the Prepetition ABL Agent, Morgan, Lewis &
Bockius LLP, One Federal Street, Boston, Massachusetts 02110, Attn.: Christopher L. Carter
(christopher.carter@morganlewis.com) and Marjorie Crider (marjorie.crider@morganlewis.com);
(e) counsel to the Prepetition FILO Agent, Choate Hall & Stewart LLP, 2 International Place,
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Dunn & Crutcher LLP, 200 Park Avenue New York, New York 10166, Attn.: Scott Greenberg
(SGreenberg@gibsondunn.com), Kevin Liang (KLiang@gibsondunn.com), and Josh Brody
(JBrody@gibsondunn.com); (g) counsel to the Prepetition Term Loan Agent, ArentFox Schiff
LLP, 1301 Avenue of the Americas, 42nd Floor, New York, New York 10019, Attn.: Jeffrey Gleit
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(jonathan.bagg@afslaw.com), and 233 South Wacker Drive, Suite 7100, Chicago, Illinois 60606,
Attn.: Matthew Bentley (matthew.bentley@afslaw.com); (h) counsel to Gordon Brothers Retail
Partners, LLC, Katten Muchin Rosenman LLP, 50 Rockefeller Plaza, New York, New York
10020, Attn.: Steven Reisman (sreisman@katten.com) and Cindi Giglio (cgiglio@katten.com);
and (i) any statutory committee appointed in these chapter 11 cases.

     PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION AND ENTER A FINAL ORDER WITHOUT FURTHER
NOTICE OR HEARING.

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Dated: January 17, 2025
Wilmington, Delaware

 /s/ Patrick J. Reilley
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 Proposed Co-Counsel to the Debtors              Proposed Co-Counsel to the Debtors
 and Debtors in Possession                       and Debtors in Possession




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